   

IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF NORTH CAROLINA
WESTERN DIVISION

SUBPOENA IN 304 CV 1545 (RNC)}—D.Conn.

BICC CABLES CORP. AND BALFOUR _ )
BEATTY, INC., )
) ™
Plaintiffs, )
)
v. ) OBJECTION AND
) MOTION TO QUASH
SCOTT & SCOTT, LLC, DAVID R. ) (Fed. R. Civ. P. 45) Q
SCOTT, ROSS LAW FIRM, AND C. ) . C
THOMAS ROSS ) 5 O- XY \ |
)
Defendants. )

William D. Harazin (“Harazin’’) and K. Matthew Vaughn (“Vaughn”), pursuant to
Fed. R. Civ. P. 45(c), object to and move to quash subpoenas issued to them by Plaintiffs in this
action. In support thereof, Harazin and Vaughn respectfully show the Court:

1. Harazin is an attorney licensed to practice law in North Carolina. He
represented plaintiff, Arthur, Harris & Assoc., Inc., (“Arthur Harris”) in a civil action filed in
Wake County Superior Court entitled Arthur, Harris & Assoc., Inc. v. Brand-Rex Co., 96 CVS
013177 (‘the State Action”). The State Action was ultimately resolved by the payment of a
substantial settlement to Arthur Harris.

2. Vaughn is an attorney licensed to practice law in North Carolina. He
represented Louis L. Arthur, Jr. and James Harris in a civil action filed in the United States
District Court for the Middle District of North Carolina entitled BICC Brand-Rex Co. v. Arthur,
Jr., et al., 98-CV-00414 (M.D.N.C.) (“the Middle District Action”). In addition, Vaughn

assisted Harazin in representing Arthur Harris in the State Action.

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3, The present action was filed by BICC Cables Corp. and Balfour Beatty,
Inc. (“Plaintiffs”) in the United States District Court for the District of Connecticut seeking
damages for alleged legal malpractice arising out of the legal representation provided to Brand-
Rex Co. in the State Action. Defendants Scott & Scott, David R. Scott, Ross Law Firm and C.
Thomas Ross (“Defendants”) represented Brand-Rex Co. in the State Action.

4. Vaughn and Harazin are not parties in the present action.

5. On September 22, 2005 Harazin was served with a subpoena issued by
this Court. A true copy of this subpoena is attached hereto as Attachment A.

6. On September 23, 2005 Vaughn was served with a subpoena issued by
this Court. A true copy of this subpoena is attached hereto as Attachment B.

7. The subpoenas directed to Harazin and Vaughn demand production of the
same or similar documents from Harazin and Vaughn respectively. Among other things, both
subpoenas request:

a. Both attorneys’ case files in the State Action and the Middle
District Action;

b. Both attorneys’ correspondence, memoranda, e-mail, telephone
logs and handwritten notes from the State Action and the Middle District Action;

C. All assessments of the merits of either the State Action or the
Middle District Action made by Harazin and Vaughn;

d. All discovery related communications in the State Action in the

possession of both attorneys;

€, All documents related to settlement analyses, recommendations,

discussions, demands or offers in the possession of Harazin and Vaughn;

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f. All documents that Harazin and Vaughn possess related to the
default judgment entered in the State Action;

g. All documents that either attorney possesses related to sanctions
ordered 1n the State Action; and

h. All documents that either attorney possesses related to the two-
month damages hearing in the State Action.

8. Harazin and Vaughn reside and practice law in Wake County, North
Carolina.

9, The subpoenas directed to Harazin and Vaughn are objectionable and
should be quashed because Plaintiffs are seeking disclosure of privileged or other protected
matter and no exception or waiver applies to the privilege or protection, in that, among other
things:

a. The subpoenas require Harazin and Vaughn to travel to a place
more than 100 miles from the place where Harazin and Vaughn reside, are employed, or
regularly transact business in person;

b. The subpoenas subject Harazin and Vaughn to undue burden and
expense, in that they would require Harazin and Vaughn to review several bankers boxes,
containing thousands of pages of documents, to make privilege and work product calls on many
of those documents without making any provision for compensation to these attorneys for the
extraordinary amount of time and effort that will be required to prepare these documents for
production. Additionally, many of the requested documents are available from either the
Superior Court file or from the Defendants in this action.

WHEREFORE, Harazin and Vaughn respectfully pray the Court that:

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Case 5:05-mc-00019-FL Document1 Filed 10/06/05 Page 3 of 26
1, The objections of Harazin and Vaughn to the subpoenas attached hereto be

sustained:
2. The subpoenas attached hereto be quashed in their entirety;
3. In the alternative, Plaintiffs’ subpoenas be modified as follows:

a. Harazin and Vaughn not be required to produce the documents
described in the subpoenas at any place outside Raleigh, North
Carolina;

b. Harazin and Vaughn not be required to produce privileged
attorney-client communications;

C. Harazin and Vaughn not be required to produce any documents
constituting or containing any attorney work product;

d. Plaintiffs be required to compensate Harazin and Vaughn for their
time and that of their staff in producing the documents sought in
the subpoenas; and

e, Plaintiffs be required to compensate Harazin and Vaughn and their
law firms for all expenses incurred by their firms in producing the
documents sought in the subpoenas.

4. The Court award reasonable costs and expenses incurred in obtaining this

Order, including attorney’s fees; and

5. Harazin and Vaughn have such other and further relief as the Court shall

deem just and proper.

This theGeasy of October, 2005.

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BAILEY & DIXON, L.L.P.

by: LO erly Koh

Gary S. Parsons
N.C. State Bar No. 7955

Donald T. O’ Toole
N.C. State Bar No. 29369
Attorneys for Attorney Harazin and Attorney
Vaughn
Post Office Box 1351
Raleigh, North Carolina 27602-1351
Telephone: (919) 828-0731
gparsons@bdixon.com

dotoole@bdixon.com

5 ;
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VERIFICATION

William D. Harazin, first being duly sworn, deposes and says that he has read the
foregoing Objection and Motion to Quash and that the facts stated therein are true of his personal
knowledge, except such matters as are stated on information and/plief, and as to those facts, he

believes them to be true. /
/

 

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Sworn to and subscribed before me,

this the Stay of October, 2005.

CC) ery Bow jc Q

C ) Notary Public

My commission expires: & - llo -10

 

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Case 5:05-mc-00019-FL Document1 Filed 10/06/05 Page 6 of 26
VERIFICATION

K. Matthew Vaughn, first being duly sworn, deposes and says that he has read the
foregoing Objection and Motion to Quash and that the facts stated therein are true of his personal
knowledge, except such matters as are stated on information and belief, and as to those facts, he

believes them to be true. ‘ yt Va

K. Matthew{ [Vaughn
Sworn to and subscribed before me,

this the (gh day of October, 2005.

Notary Public

 

CRISSIE CURTIS
NOTARY PUBLIC

¢ WAKE COUNTY, N.C.
My Commission Expires 6-29-2009.

 

 

 

 

My commission expires:

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Case 5:05-mc-00019-FL Document1 Filed 10/06/05 Page 7 of 26
CERTIFICATE OF SERVICE

The undersigned attorney for Attorney Harazin and Attorney Vaughn hereby
certifies that on this day the foregoing and attached Objection and Motion to Quash was served
upon the attorneys of record for the parties in this action by depositing copies thereof in the
United States mail, postage prepaid, and addressed as follows:

Gary D. Friedman

Matthew D. Ingber

Mayer, Brown, Rowe & Maw LLP
1675 Broadway

New York, New York 10019
212-506-2500

E-mail: gfriedman@mayerbrown.com

David J. Elliott

David M. Bizer

Day, Berry & Howard
CityPlace

Hartford, CT 06103
Phone: 860-275-0100
Fax: 860-275-0343

E-mail: djelliott@dbh.com

Richard C. Robinson
Pullman & Comley

90 State House Square
Hartford, CT, 06103
Phone: 860-424-4300
Fax: 860-424-4370

E-mail: rrobinson@pullcom.com

This the 6 hy of October, 2005.

Donald T. O’Toole

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ATTACHMENT A

Case 5:05-mc-00019-FL Document1 Filed 10/06/05 Page 9 of 26
AO 88 (Rev. 1/94) Subpoena in a Civil Case - SDNY WEB 4/99

Issued by the
UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NORTH CAROLINA

BICC CABLES CORP. and
BALFOUR BEATTY, INC.,

V.

SCOTT & SCOTT, LLC, DAVID R. SCOTT, CASE NUMBER:
ROSS LAW FIRM, and C. THOMAS ROSS

 

SUBPOENA IN A CIVIL CASE

" 304CV1545 (RNC) - D. CT.

TO: WILLIAM D. HARAZIN, ESQ.
434 FAYETTEVILLE ST MALL
RALEIGH, NC 27601

LJ YOU ARE COMMANDED to appear in the United States District Coun at the Place, date, and time specified below to testify
in the above case.

* PLACE OF TESTIMONY COURTROOM

 

 

DATE AND TIME

 

 

LJ YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a deposition in
the above case.
PLACE OF DEPOSITION . . DATE AND TIME

 

 

 

7] YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or objects at the place,
date, and time specified below (list documents or objects):

SEE SCHEDULE A.

 

PLACE — DATE AND TIME
pS BROWN, ROWE & MAW LLP, 214 NORTH TRYON ST., SUITE 3800, CHARLOTTE, NC 1030 am .,October12,
; ; 2Ons

 

CJ YOU ARE COMMANDED to permit inspection-of the following premises at the date and time specified below.

 

PREMISES : : . DATE AND TIME

 

 

Any organization not a party to this suit that is, subpoenaed for the taking of a deposition shall designate one or more
officers, directors, or managing agents, or other p sons who consent to testify on its behalf, and may set forth, for each person
designated, fem matters on on wich tHe person wi wil testify. Federal Rules of Civil Procedure, 30(b)(6).

ISSUING OF FICE SIGNATURE AND 7 (INDICATE AF ATTORNEY FO} PLAINTIE OR DEFENDANT) DATE
Len _Lhlorneys for Plaintiffs September 22, 2005

ISSUING OFFICER'S mh Ee AND PHONE NUMBER

 

 

Gary D. Friedman, layer, Brown, Rowe & Maw LLP
1675 Broadway, New York, New York 10019 - (212) 506-2500

 

(See Rule 45, Federal Rules of Civi Procedure, Parts C & D on Reverse)

‘If action is pending in district other than district of issuance, state district under case number.

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SCHEDULE A
DEFINITIONS

A. Unless otherwise provided, the terms used herein shall be construed in accordance
with Rules 26 and 34 of the Federal Rules of Civil Procedure.

B. “You” or “Your” refers to William D. Harazin and any of his agents.

C. “Plaintiffs” refers to BICC Cables Corp. and Balfour Beatty, Inc. and any of their
affiliates, divisions (including BICC Brand Rex Company), agents, predecessors, successors,
assigns, subsidiaries, parents, current and former employees or any person or entity who acted or
purported to act on their behalf.

D. “Arthur, Harris” refers to Arthur, Harris & Associates, Inc. or any of its
principals, partners, employees or affiliates.

E. “Communication” is used in its broadest sense and means any transmission or
exchange of thoughts, ideas, data, messages, inquiries or information of any kind between or
among any two or more persons, including without limitation, between or among employees or
agents of a person other than a natura] person, whether such transmissions or exchanges are oral
or written and whether they are personally, electronically or otherwise generated, transcribed,
transmitted or recorded.

F, A document or communication “concerning” a subject matter is one constituting,
comprising, identifying, referring to, relating to, dealing with, containing, embodying, reflecting,
stating, commenting on, describing, responding to, analyzing or pertaining to the matter in any
way.

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G. “Connecticut Action” refers to the Connecticut state court action entitled BICC
Brand-Rex Co. v. Arthur Harris & Assocs., Inc., 97-CV-0054855S (Conn. Super Ct.), including.
al] claims and counterclaims asserted, and appeals from any judgments or orders entered, therein.

H. “Document” shall be interpreted in its broadest sense and means any printed,
typewritten, handwniten, recorded, transcribed, or graphic matter whatsoever, including drafts,
originals and copies which are different in any way from the original (whether by interlineation,
receipt stamp, notation, indication of copy sent or received or otherwise), regardless of location, -
however produced or reproduced, and any other matter, including by way of illustration, but not
limitation, al] Jetters, correspondence, memoranda, notes, telegrams, summaries, transcripts,
electronic mai), telephone logs, telephone records, teletypes, bank checks, bank deposits and
withdrawal slips, bank credit and debit memoranda, bank drafts, bank statements, telexes, private
wire messages, communications, desk calendars, diaries, appointment books, agenda, schedules,
reports, studies, appraisals, analyses, lists, surveys, budgets, financial statements, financial
projections, financial calculations, contracts, work sheets, agreements or proposed agreements,
notices of wire transfers for funds or other notices, canceled checks, periodicals, charts, graphs,
interviews, transcripts, depositions, books of account, affidavits, communications with
government bodies, invoices, notes and minutes of audit committees, financial committees and
executive committees, interoffice communications, results of investigations, working papers,
newspaper or magazine articles, records of payments, releases, receipts, computer programs,
maps, listings, tax returns, vouchers, powers of attorney, paper similar to any of the foregoing
and other writings of every kind and description (whether or not actually used) and any other

records or voice recordings, film, tapes, computer disks, magnetic media and other data

compilations.

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L “North Carolina Federal Action” refers to the action filed in.the United States
District Court for the Middle District of North Carolina entitled BICC Brand-Rex Co. v. Arthur,

Jr., et. al., 98-CV-00414 (M.D.N.C.), including all claims and counterclaims asserted, and appeals

 

from any judgments or orders entered, therein.

J. “North Carolina State Action” refers to the North Carolina state court action
entitled Arthur, Harris & Assocs., Inc. v. Brand-Rex Co., 96-CVS-013177 (N.C. Super. Ct.),
including al] claims and counterclaims asserted, and appeals from any judgments or orders
entered, therein.

K. “Person” means all entities of every description, and includes any natural person,
partnership, corporation, proprietorship, unincorporated association, governmental agency, or
other form of legal entity.

L. The terms “reflecting,” “describing” or “reJating to,” in addition to their other
customary and usual meaning, mean discussing, constituting, mentioning, pertaining to,
assessing, recording, concerning, touching upon and/or summarizing.

M. “Ross Team” refers to each and every individual, including, without limitation,
attomeys, paralegals and clerks, at the Ross Law Firm, who prepared, or assisted in the
preparation of, the defense and prosecution of the Underlying Actions.

N. “Scott Team” refers to each and every individual, including, without limitation,
attorneys, paralegals and clerks, at Scott & Scott LLC, who prepared, or assisted in the
preparation of, the defense and prosecution of the Underlying Actions.

O.. The “Underlying Actions” refer collectively to the Connecticut Action, the North

Carolina Federal Action, and the North Carolina State Action.

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INSTRUCTIONS

A. As used herein, the words “and” and “or” shall be construed either conjunctively
or disjunctively as required by the context to bring within the scope of these requests all
documents that might otherwise be construed to be outside its scope by another construction.

B. The singular form of a word shall be interpreted as plural, and the plural form of a
word shall be interpreted as singular, whichever is appropriate so as to bring within the scope of
these requests any information or documents which might otherwise be considered to be beyond
their scope.

C. To the extent that no single document exists or is in your possession, custody or
contro) which contains al] of the information sought in any particular request herein, you are to
provide such other documents in your possession, custody or contro] which are sufficient to
show or compile al] of the information requested in such request, or as much thereof as is
available.

D, Each paragraph and subparagraph herein shall be construed independently and not
with reference to any other paragraph or subparagraph for purposes of limitation.

E. Each request herein for documents to be produced requires production of the
documents in their entirety without abbreviation, redaction or expurgation.

F, If any document request cannot be complied with in full, it shal] be complied with
to the extent possible, and an explanation shall be given as to why ful] compliance is not
possible.

G. Each document requested herein shal] be produced as it is kept in the usual and
régular course of business. To the extent any documents are stapled or organized in their

existing files, such documents shall be produced in the same fashion.

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yy 66.

H. All phrases following the terms “including”, “including without limitation”, and
“fncluding but not limited to” are intended to illustrate the kinds of documents responsive to each
request. Such examples are not intended to be exhaustive of the materials sought by the request
and shal] not in any way be read to limit the scope of the request.

1. In the event that any portion of any document is redacted, such document shall be
clearly and prominently stamped “Redacted” and ‘such stamp shall appear on every portion of the
document where information has been redacted or otherwise removed.

J. If you withhold any document covered by these requests, identify each such

document and state the following information with respect to each such document:

(1) the reason for the withholding;
(ii) the date of the document;
(iii) the names of its authors or preparers, and an identification by

employment and title of each such person;

(iv) the name of each person who was sent or furnished with, or who
received, viewed or has had custody of the document or a copy
thereof;

(v) a description of the nature and content of the document,

(vi) a statement of facts constituting the basis for the withholding;

(vii) the number of each paragraph of these requests to which the

document responds.
K. If any document requested herein was formerly in your possession, custody or
control and has been lost, destroyed or otherwise disposed of, submit in lieu of each such

document a written statement which:

¢ (i) describes in detail] the nature of the document and its contents;

(11) identifies the persons who prepared or authored the document, and, if
applicable, the persons to whom the document was sent;

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(iii) specifies the date on which the document was prepared or transmitted;
and

(iv) specifies the date on which the document was lost, destroyed or
otherwise disposed of, the conditions of any reasons for such
destruction or other disposition and the persons requesting and
performing the destruction or other disposition.

L. Unless otherwise specified, documents to be produced pursuant to these requests
shal] include all documents created any time during or concerning the time period January 1,
1995 to the present (the ‘“‘Period”’).

M. These requests are continuing in nature. If, after responding to this
request, you obtain or become aware of any further responsive documents, you are required to

make a supplemental] production of those documents.

DOCUMENTS TO BE PRODUCED

1. Your entire case files for the Underlying Actions.

2. All documents reflecting or evidencing any communications between or among
you, the Scott Team, the Ross Team, or K. Matthew Vaughn concerning the Underlying Actions,
including, without limitation, all correspondence, memoranda, electronic mail, telephone logs,
and handwniten notes.

3. All documents reflecting or evidencing assessments made by you of the merits of
the prosecution and/or defense of the North Carolina State Action.

4. All documents reflecting or evidencing communications concerning discovery in

the North Carolina State Action.

5. All documents concerning any potential] settlement of the North Carolina State

Action, including, without limitation, (1) any analyses you undertook concerning settlement

offers or demands; (ii) documents reflecting settlement discussions and/or recommendations; and

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(iii) documents reflecting setthement offers or demands, including, without limitation, offers of
judgment.

6. All documents evidencing or reflecting any communications between or among
you, the Scott Team, the Ross Team, and/or K. Matthew Vaughn concerning the default
judgment in the North Carolina State Action.

7. All documents conceming the sanctions hearing conducted on April 26, 1999 in
the North CaroJina State Action, including, without limitation, all documents reflecting
communications between or among you, the Scott Team, the Ross Team, or K. Matthew Vaughn
concerning the sanctions hearing.

8. All documents concerning the damages hearing conducted in May and June 2000
in the North Carolina State Action, including, without limitation, all documents reflecting
communications between or among you, the Scott Team, the Ross Team, or K. Matthew Vaughn
concerning the damages hearing.

9. To the extent not otherwise produced in response to the foregoing requests, al]
documents concerning the default judgment in the North Carolina State Action, including,

without limitation, any file memoranda, handwritten notes, or correspondence conceming the

default judgment.

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ATTACHMENT B

Case 5:05-mc-00019-FL Document1 Filed 10/06/05 Page 18 of 26
. wl YOU ARE COMMANDED to produce and permit inspection and copying oftie folowing documents or ree at the: plate,

[Jyou' ARE COMMANDED to permit inspection of the following premises at the date and time specified below. -

 

“Yssued by the a ae i
UNITED STATES DISTRICT COURT -

 

 

 

 

 

 

EASTERN ee DISTRICT OF . _ : | NORTH CAROLINA,
: BICC CABLES CORP. and ee : -
BALFOUR BEATTY, INC., Ca " SUBPOENA IN NA. CIVIL CASE.

| S§cOTT & SCOTT, LLG, DAVID R, SCOTT,

CARE NUMBER: 1 s0acvisds CBN) D. cr: Coe Sa
ROSS LAW FIRM, and C. THOMAS ROSS : , . ee

 

 

 

TO: - MATTHEW VAUGHN, ESQ.
EVERETT GASKINS, HANCOCK & STEVENS, LLP
127 W. HAFIGETT STREET, SUITE 600, P.O. Box.811 oa
RALEIGH. NC 27602-0911 : Oe
(you ARE COMMANDED to appeerin the United States District Court althe eplace, date: ‘and tima pits Belovito tsi
in the above case. . oo . a
PLACE OF TESTIMONY ~ a To BRR ~

 

 

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date, and time specified below (list documents or objects):

 

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" PLACE : a . DATE MOTE, :
MAYER, BROWN, ROWE & MAW LLP, 214 NOFTH TAVON ST, SUITE 3800, Jdhantotre NC. FP x9s0 ai. coker,

“ DAR a

 

 

 

PREMIEES E a oy oy PRERBe

 

 

Any organization not a party to this suit that i is subpoensed for the taking ofa deposition shall designate one OF. more:

       
   
  

~ officers, q 2 ors, or managing agents oLolpér persons who consent.to teatify on its behalf, and may set forth, for each fereo#

m will testify. Federal Rules of Guy Procedure, 30(b)\6).
i FOR PLANTIFE OF BEFENDANTY ‘ ” vo  Joate

" Altomeys for Plaintiffs = Septefnber 2, 2008:

ee

 

(212) 506-2600
(See Rule 45, Federal Roten of Ci Procedure Parts cap an Raveray
’ “ action is pending in distelet ather than district of Issuance, siste distict under case number, a

Case 5:05-mc-00019-FL Document1 Filed 10/06/05 Page 19 of 26
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A.- Unless otherwise provided, ihe terms used beteia shall be constnied in in accordance v4 e us

with Rules 26 and 34 of the Federal Rules of Civil Procedure:

B. “You” or “Your” refers to K. Matthew Vaughn and any of his ages,

C, “Plaintiffs” refers 10 BICC Cable Corp. and Balfour Beatty, Inc, aud any of bie Paneer

affiliates, divisions (including BICC Brand Rex Company), agers, predecessors, sucdéssors,

" assigns, subsidiaries, parents, current ‘and former employe or any Berson or: oat who ie or. ~ - : at ae

purported to act on their behalf. ae
D. “arthur, Harris” refers to “Arthas; H Hanis & asioines, tne. ‘or aty at its 5 ve
- principals, partners, employees or affiliates. Sd |

E. “Communication” is used in’ its broadest Sense and means any transmission or

 

exchange of thoughts, ideas, data, messages, inquires. or infortnation of sy kind. betwen oe 2 -

 

among any two or more persons, including witha tation, between oF. among cimployees or 7 ons

agents of a person other than. a natural perio, whether suc iransinissions or ‘exchaiges are’ oral mS a vee

or written and whether they: are verily, electronically or others yonerated, trinsétibed;

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F, A document or conimunication ' ‘4 ‘conceming” i subject matter ds ‘one consinting, er

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stating, commenting on, describing, responding to, analyzing oF petsning the mate in any. a |

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Case 5:05-mc-00019-FL Document1 Filed 10/06/05 Page 20 of 26
G. “Comnecticut Action” i refer to the Connecticut suite court action, mentite’ B cc”

   

iy NC:

o7-Cv-0054855S (Cons super i), ineluding: ee

all claims and counterclaims asserted, and appeal from any jidgments or orders 8 entered, therein: an

-H. “Document” shall be interpreted in its broadest sense and means any printed,
typewritten, handwritten, recorded, transeribed, or graphic matter whatsoever, inclding arabs,
| originals and copies which are. differenti in any way from the orginal (wetter by inietineation,

‘receipt stamp, notation, indication of copy s gent or received or atherise), regardless of location, -

_however produced or reproduced, and any other mater, itctuding by way of ilatration, but not ree

limitation, all letters, correspondence, menor, notes, ilegtams, surnnaties, anceps, -

electronic mail, telephone logs, telephone recotts teletypes,| bank aticoks, bak deposi and *

withdrawal slips, bank credit and debit meniorands bank drafis, bank statements, telexes, private. ee

wire. messages, communications, desk calendars, diaries, appointment books; agendi, schedules, as an

reports, studies, appraisals, analyses, lists, surveys budgets financial statements, Sinaia:
projections, financial calculations, contracts, work sheets, agrecinents or. 1 proposed exreemest,
notices of wire transfers for funds or other noticés, éeanasled checks, periodicals, chats, graphs,
interviews, transcripts, depositions books of: account, affidavits, cominunications with -
government bodies, invoices, notes and minutes ‘of aii commmities, financial commities nd .

executive committees, interoffice communicatins, regults of. investigations, working pape, ,

newspaper Or magazine articles, records. of ‘payments, releasés, Feceips, computer programs, a me

maps, ‘listings, tax returns, voitchets, powers of attomey, paper simailar to any, of the foregoing.

and other writings of every kind and description (whether or hot aeualy used) and any other ee

records or voice recordings, film, tapes, computer disks, mingnetic media and other data

compilations.

 

Case 5:05-mc-00019-FL Document1 Filed 10/06/05 Page 21 of 26
L “North Carolina Federal, Action” refer to the action n filed in: "he Unied Stated

District Court for the Middle District of Novth Caroling ented nice Brand-Rex Co. Ny. Aion,

Ir, etal., 98-CV-00414 (M.D: N. C.), fichuding al claims and courierolaims asserted, ind saps.

 

 

from any judgments or orders entered, therein,

J, “North Carolina State Action’ tefers : to the North Carolina state coitit sction »

entitled Arthur, Harris & Assocs., Inc, y, Band Rex Co, 96- cvs-013177 iN, Super Os .

including all claims and counteiclaims asserted, atid \ appeal from any judgments or of

 

entered, therein. 7 .
K. “Person” means all i ens ofe every y description, a and cludes 2 aay y nati person, :
partnership, corporation, proptietorship, unincorporated association, governmental agency. or - ; :
. other t form of legal entity. : a - oo
L. The terms “reflecting,” "descrbing” or “eating "| in. edition t6 thelr oe
customary and usual meaning, mean discussing eonstitting, mentioning, persining to,” :

assessing, recording, concerning, rouching apon and/or summarising.

M. “Ross Team” refers to each and every individual, ‘including wi wis .
attorneys, paralegals and clerks, at the Ross Law Firm, who Preparéd, or astisted in the :
preparation of, the defense and prosecition of the Uideriying Actions. .

N, “Scott Team” refers to each and: every. indvidua, inact, without iat, :
attomeys, paralegals and clerks, at Scott: & Seatt LLC, who prepared, or assisted in the:

Preparation of, the defense and proseaitior of the Underlying Actions A
0. The “Underlying Actions” refer collectively to. the Conneticit Act, tie Non oe

. Carolina Federal Action, and the North Carolia State Action. : aos oe,

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| “ssmituerions oa OE he
A, _ AS used perc, the words “and” ” and “or” shall be conitrued either conjnyely

or disjunctively as required by the context to tring within: the’ so0pe of these requests all .
documents ‘that might otherwise be constnieid to be outside. its scope, by aioe coinstmctin “

'B. The: singular form.of a word shall be nore as plu, and the slug fon of a.

word shall be interpreted, as singular, whichever is sppropriate so as to bring within the séope of

 

 

 

these requests any information or docusnens we might o otherwise be considered to obe beyond a oe eg asl

‘their scope. |

Cc. To the extent that no single doguinet exists or is in your possésson, eat or
control which contains all of the information sought in any patclat request herein, you are ®. os
provide such other documents in your Postession, custody ‘or control whieh are suticiet ti

. show or compile all of the information requested in such reget 0 or as maueh: theredf as is. ve

available.

D, “Bach paragraph and subpaidgragh Herein shal be construed independent and not.
with reference to any other paragraph or subparagraph for pusposes of liaitation, * as wh “ i . os
B. Each Tequest herein for dogaments to be produced require prot oft the

documents in their entirety without abbreviation, redaction or expurgition. :

 

 

F. If any document request cannot be complied with in full, it shall be cried with a . °

to the extent possible, and an explanation shall be giver as to tow. foil coimplisic' is not

possible, .

Gs, "Bach document requested herein sail be produéed-a as it is: s kept i in te ita ed
regular course of business. To the extent. any documeas ure. stapled or organized j in their’:

existing files, such documents shall be produced in the same fashion. : eas

 

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OF. ~ All phrases following the terms ng “including”, “including without itation” ind.

 

“including b but not limited to” are intended to: ‘Mustrete the kinds ‘of documents 1 responsive to each

request, Such examples are not intended to be. exhavstive of the materials sought by. the: request -

and shall not in any way be read to limit the scope of the request.

 

tL th the event that any portion. of any’ document is redacted, such. document shat be
| clearly and prominently stamped “Redacted” and such stamp shal appear on every potion of the 9 vn
document where information has been redacted or otherwise rempved, . - s

2 Oy . if you withhold any document. covered by. these request, identify each such :

 

| document and state the following information with respect to cacti such document:, -

‘(), the reason for the withholdings 7
* -Gi) the date of the dociument;
. (ili). the names of its authors. or preparers, and. an identification by.
- employment and title of each such person; ,;
‘G@v) ~~ the name of each 1 Berson who \ was ‘gent or 1 furnished with,. OF who:
received, viewed o or has had custody of the document ora copy;
thereof; . ; ; :
wy a description of the nature and content ¢ of hed document; |
(vi) —s- a statement ot facts constituting the basis for. the wate : . :
, ) the number of each paragraph of these requests to which tha:
document responds, . ;
- K. If any document requested herein was as formes in, your. possestion, sty o OF

control and has been lost, destroyed or otherwige disposed of, submit in lieu, of each such
document a written statement which: ve :
fi), . describes in detail the nature of the doctiment and. ita contents; . . 7

Gi: identifies the persons: who prepared or authored. the document aid, it
applicable, the persons to whom the document was sent; -

3.

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(ii) ; | specifies the date c on hie the dame was pad. or rans
(iv) specifies the 2 date on \ whieh the doctinient was: lost, destroyed-s or :
otherwise disposed’ of; the.conditions of any reasons’ for such .-

destruction or other disposition. and the persons requesting and -
performing the destruction or other disposition, ot ON

L. . Unless otherwise specified, docuinent io be produced pursuant to ies requests

shall include al] documents created any time ne dung or concerning the tire petiod I anuaty 1 1,

1995 to the present (the “Period”.

M. These requests are continuing i in nature. “f, ether responding fo thi

mae,

 

 

 

request, you obtain or become aware of arly tithes fesponsive docitments, yous are sou ito. mo Sl : Ciel,

make a supplemental production of those dociments. So oS : be " a ao S ve

‘

poco TOR PRC DUCED «
1. Your entire case’ files for the Ungeriying Atti.
2. All documents reflecting or evidencing any communications sbetwéen or. among

v .

you, the Scott.Team, the Ross Team, or. Wiliam Horazin contcemning the Underlying Actions,

including, without limitation, al] conespondee memoria, olegtronic miail, telepioné logs us - ws . - oe

' and handwritten notes:

can

3. Au documents reflecting or evidencing assessments. made yy you of the edits of: : . ,

- the prosecution and/or defense of the North Cxfoling Suite Action,

 

 

 

4. All documents reflecting or videcing communication concerning, discovery in coe, . oes “

the North Carolina State Action. oe ve oe vo . wok ne :

‘et

5. All documents concerning any potential settlement ot the North Cinna sist Oe

Action, including, without limitation, i). any analyees you undertodk ‘eoncemning sitloment

offers or demands; (ii) documents reflecting seftlemen discussi ons and/or: recomendations, arid - oo

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. Gi docuiments 2 eflectin Z settlement offers or demands, including, without imitation, offers of

a judgment.

; 6. o “ALL documents evidencing or: reflecting any communteations betireen or among

ne you, 3 the Scott Team, the Ross Team, and/or William Harazin concerning the detent t judges in Bo .

a ‘the Noxth Carolina State Action.

7. “All documents conceming the sanctions hearing condiicted ori ‘April 26, 1999 in a
. the North Carolina State Action, including, without limitation, all documents reflecting
| comratiniGations between or among you,. the Sort Team, the Ross Team, or William Hiazin’
“concerning ‘the sanctions ‘hearing, | .
8. An documents concerning the damages bearing conducted in. May and June 20900
in the Non Carolina State Action, including, without limitation, all document reflecting: ;
| : communications between or among you,.the Scott Team, the Ross Team; or r Wiliam Hatecin,
conceming the images hearing. | | o

9 To the extent not otherwise produced i in responise to the foregoing requests, a

mo documents coneerning the default judgment in the North Carolina State Action, including, . pe

without Limitation, any | file memoranda, handvwrites ates, or Correspondence conceming the

“default judginent. :

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